                                           UNITED STATES BANKRUPTCY COURT
                                           MIDDLE DISTRICT OF PENNSYLVANIA

              In re: Morton, James T., III                                                      § Case No. 1-15-03759
                     Morton, Christina A.                                                       §
                                                                                                §
         Debtor(s)                                                                              §

                                           TRUSTEE'S FINAL REPORT (TFR)

                The undersigned trustee hereby makes this Final Report and states as follows:

               1. A petition under Chapter 7 of the United States Bankruptcy Code
       was filed on August 31, 2015. The undersigned trustee was appointed on September 10, 2015.

                 2. The trustee faithfully and properly fulfilled the duties enumerated in 11 U.S.C. §704.

                3. All scheduled and known assets of the estate have been reduced to cash, released to
       the debtor as exempt property pursuant to 11 U.S.C. § 522, or have been or will be abandoned
       pursuant to 11 U.S.C. § 554. An individual estate property record and report showing the
       disposition of all property of the estate is attached as Exhibit A.
                 4. The trustee realized the gross receipts of                      $            1,439,463.56

                                    Funds were disbursed in the following amounts:
                                    Payments made under an
                                      interim distribution                                          944,905.98
                                    Administrative expenses                                         371,475.92
                                    Bank service fees                                                 8,111.74
                                    Other payments to creditors                                           0.00
                                    Non-estate funds paid to 3rd Parties                                  0.00
                                    Exemptions paid to the debtor                                    11,647.50
                                    Other payments to the debtor                                          0.00
                             Leaving a balance on hand of 1                         $               103,322.42
       The remaining funds are available for distribution.

               5. Attached as Exhibit B is a cash receipts and disbursements record for each estate bank
       account.




              1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
account of the disbursement of the additional interest.

      UST Form 101-7-TFR (05/1/2011)



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               6. The deadline for filing non-governmental claims in this case was 03/18/2016
       and the deadline for filing governmental claims was 02/27/2016. All claims of each class
       which will receive a distribution have been examined and any objections to the allowance
       of claims have been resolved. If applicable, a claims analysis, explaining why payment on any
       claim is not being made, is attached as Exhibit C .

                 7. The Trustee's proposed distribution is attached as Exhibit D .

               8. Pursuant to 11 U.S.C. § 326(a), the maximum compensation allowable to the trustee is
       $20,000.00. To the extent that additional interest is earned before case closing, the maximum
       compensation may increase.

                The trustee has received $0.00 as interim compensation and now requests the
       sum of $18,657.39, for a total compensation of $18,657.39.2 In addition, the trustee
       received reimbursement for reasonable and necessary expenses in the amount of $0.00
       and now requests reimbursement for expenses of $0.00, for total expenses of
              2
       $0.00.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
       foregoing report is true and correct.

       Date: 04/03/2019                    By: /s/Steven M. Carr
                                               Trustee




       STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
       Act exemption 5 C.F.R. §1320.4(a)(2) applies.




            2 If the estate is administratively insolvent, the dollar amounts reflected in this paragraph
may be higher than the amounts listed in the Trustee's Proposed Distribution (Exhibit D)

       UST Form 101-7-TFR (05/1/2011)



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                                                                                                                                                                         Exhibit A


                                                                                Form 1                                                                                   Page: 1

                                            Individual Estate Property Record and Report
                                                             Asset Cases
Case Number: 1-15-03759                                                                 Trustee:         (580390)    Steven M. Carr
Case Name:         Morton, James T., III                                                Filed (f) or Converted (c): 09/04/15 (c)
                   Morton, Christina A.                                                 §341(a) Meeting Date:        10/21/15
Period Ending: 04/03/19                                                                 Claims Bar Date:             03/18/16

                                 1                                      2                           3                      4                    5                   6

                     Asset Description                              Petition/             Estimated Net Value          Property            Sale/Funds          Asset Fully
          (Scheduled And Unscheduled (u) Property)                Unscheduled        (Value Determined By Trustee,    Abandoned            Received by      Administered (FA)/
                                                                     Values             Less Liens, Exemptions,       OA=§554(a)            the Estate       Gross Value of
Ref. #                                                                                      and Other Costs)                                                Remaining Assets

 1        REAL ESTATE - 2782 Meadow Cross Way, York, PA               368,000.00                           0.00                                      0.00                    FA

 2        REAL ESTATE - 215 St. Charles Way, York, PA               1,150,000.00                           0.00                              1,185,463.56                    FA

 3        CASH ON HAND                                                      150.00                         0.00                                      0.00                    FA

 4        BANK ACCOUNTS - Metro Bank                                    2,000.00                           0.00                                      0.00                    FA

 5        BANK ACCOUNTS - Santander Bank                                      5.00                         0.00                                      0.00                    FA

 6        BANK ACCOUNTS - Fulton Bank                                         7.00                         0.00                                      0.00                    FA

 7        HOUSEHOLD GOODS AND FURNISHINGS                              12,358.00                           0.00                                      0.00                    FA

 8        WEARING APPAREL                                                   500.00                         0.00                                      0.00                    FA

 9        MASS MUTUAL 401K                                             48,535.69                           0.00                                      0.00                    FA

10        50% Principia Ventures/Highland Holding Group               112,000.00                    100,352.50                                 225,000.00                    FA

11        Children First Learning Center, Inc.                        150,000.00                    138,359.50                                       0.00                    FA

12        Registered Nursing License                                        100.00                         0.00                                      0.00                    FA

13        AUTOMOBILES - 2008 Van                                        6,815.00                           0.00                                      0.00                    FA

14        AUTOMOBILES - 2008 KIA Optima                                 3,119.00                           0.00                                      0.00                    FA

15        AUTOMOBILES - 2011 Ford Edge                                  9,172.00                           0.00                                      0.00                    FA

16        Claim v. Principia Venture, LLC                               Unknown                         Unknown                                      0.00                    FA

17        DISTRIBUTION FROM CORPORATION (u)                                   0.00                   29,000.00                                  29,000.00                    FA

 17      Assets      Totals (Excluding unknown values)             $1,862,761.69                   $267,712.00                              $1,439,463.56                 $0.00



      Major Activities Affecting Case Closing:

      Initial Projected Date Of Final Report (TFR):      September 30, 2016               Current Projected Date Of Final Report (TFR):       March 13, 2019 (Actual)




                                                                                                                                          Printed: 04/03/2019 10:33 AM   V.14.50
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                                                                                                                                                                               Exhibit B


                                                                                  Form 2                                                                                       Page: 1

                                                      Cash Receipts And Disbursements Record
Case Number:         1-15-03759                                                                   Trustee:            Steven M. Carr (580390)
Case Name:           Morton, James T., III                                                        Bank Name:          Rabobank, N.A.
                     Morton, Christina A.                                                         Account:            ******3566 - Checking Account
Taxpayer ID #:       **-***8887                                                                   Blanket Bond:       $6,379,891.00 (per case limit)
Period Ending: 04/03/19                                                                           Separate Bond: N/A

   1             2                           3                                        4                                           5                     6                  7

 Trans.     {Ref #} /                                                                                                         Receipts          Disbursements           Checking
  Date      Check #           Paid To / Received From             Description of Transaction                 T-Code              $                    $              Account Balance
03/17/16                   Smigel, Anderson & Sacks, LLP                                                                          25,000.00                                 25,000.00
               {2}                                                                        1,156,762.56       1110-000                                                       25,000.00
                                                             York Traditions - 1st         -537,301.23       4110-000                                                       25,000.00
                                                             mortgage
                                                             Mid Atlantic - 2nd, 3rd &     -361,000.00       4110-000                                                       25,000.00
                                                             4th mortgage
                                                             The Columbia Bank - 5th          -3,620.19      4110-000                                                       25,000.00
                                                             mortgage
                                                             sewer                              -92.68       2500-000                                                       25,000.00
                                                             state tax/stamps               -11,500.00       2500-000                                                       25,000.00
                                                             notary fees                        -10.00       2500-000                                                       25,000.00
                                                             tax certification fees             -40.00       2500-000                                                       25,000.00
                                                             sewer 11/15 to 1/16               -213.90       2500-000                                                       25,000.00
                                                             York County Tax Clam           -39,300.49       4700-000                                                       25,000.00
                                                             Bureau - taxes
                                                             Kay A. Crumling,                 -3,684.07      4700-000                                                       25,000.00
                                                             Treasurer - taxes
                                                             Excrow tax account            -175,000.00       2820-000                                                       25,000.00
03/31/16                   Rabobank, N.A.                  Bank and Technology Services Fee                  2600-000                                        15.53          24,984.47
04/29/16                   Rabobank, N.A.                  Bank and Technology Services Fee                  2600-000                                        34.64          24,949.83
05/31/16                   Rabobank, N.A.                  Bank and Technology Services Fee                  2600-000                                        34.59          24,915.24
06/30/16                   Rabobank, N.A.                  Bank and Technology Services Fee                  2600-000                                        39.31          24,875.93
07/28/16       {10}        York Traditions                 sales proceeds                                    1129-000           225,000.00                                249,875.93
07/29/16                   Rabobank, N.A.                  Bank and Technology Services Fee                  2600-000                                        34.49        249,841.44
08/03/16       101         James & Christina Morton        debtor's exemption                                8100-002                                   11,647.50         238,193.94
08/31/16                   Rabobank, N.A.                  Bank and Technology Services Fee                  2600-000                                       385.30        237,808.64
09/30/16                   Rabobank, N.A.                  Bank and Technology Services Fee                  2600-000                                       341.11        237,467.53
10/31/16                   Rabobank, N.A.                  Bank and Technology Services Fee                  2600-000                                       329.27        237,138.26
11/30/16                   Rabobank, N.A.                  Bank and Technology Services Fee                  2600-000                                       362.86        236,775.40
12/22/16       102         INTERNATIONAL SURETIES, LTD     BOND PREMIUM PAYMENT ON LEDGER                    2300-000                                        88.15        236,687.25
                                                           BALANCE AS OF 12/22/2016 FOR CASE
                                                           #1-15-03759, Bond #016026361
12/30/16                   Rabobank, N.A.                  Bank and Technology Services Fee                  2600-000                                       339.62        236,347.63
01/31/17                   Rabobank, N.A.                  Bank and Technology Services Fee                  2600-000                                       362.55        235,985.08
02/28/17                   Rabobank, N.A.                  Bank and Technology Services Fee                  2600-000                                       316.80        235,668.28
03/31/17                   Rabobank, N.A.                  Bank and Technology Services Fee                  2600-000                                       350.27        235,318.01
04/28/17                   Rabobank, N.A.                  Bank and Technology Services Fee                  2600-000                                       315.90        235,002.11


                                                                                                   Subtotals :                 $250,000.00             $14,997.89
{} Asset reference(s)                                                                                                                      Printed: 04/03/2019 10:33 AM        V.14.50
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                                                                                       Form 2                                                                                           Page: 2

                                                      Cash Receipts And Disbursements Record
Case Number:         1-15-03759                                                                            Trustee:            Steven M. Carr (580390)
Case Name:           Morton, James T., III                                                                 Bank Name:          Rabobank, N.A.
                     Morton, Christina A.                                                                  Account:            ******3566 - Checking Account
Taxpayer ID #:       **-***8887                                                                            Blanket Bond:       $6,379,891.00 (per case limit)
Period Ending: 04/03/19                                                                                    Separate Bond: N/A

   1             2                           3                                          4                                                  5                     6                  7

 Trans.     {Ref #} /                                                                                                                  Receipts          Disbursements           Checking
  Date      Check #           Paid To / Received From                  Description of Transaction                     T-Code              $                    $              Account Balance
05/31/17                   Rabobank, N.A.                      Bank and Technology Services Fee                       2600-000                                       371.81        234,630.30
06/30/17                   Rabobank, N.A.                      Bank and Technology Services Fee                       2600-000                                       337.47        234,292.83
07/11/17       {2}         Shapiro Sher Guinot & Sandler       payment from tax escrow                                1110-000             28,701.00                               262,993.83
07/18/17       {17}        Smigel, Anderson & Sacks            turnover of distribution from corporation              1229-000             29,000.00                               291,993.83
07/31/17                   Rabobank, N.A.                      Bank and Technology Services Fee                       2600-000                                       360.29        291,633.54
08/31/17                   Rabobank, N.A.                      Bank and Technology Services Fee                       2600-000                                       461.45        291,172.09
09/29/17                   Rabobank, N.A.                      Bank and Technology Services Fee                       2600-000                                       404.84        290,767.25
10/31/17                   Rabobank, N.A.                      Bank and Technology Services Fee                       2600-000                                       446.10        290,321.15
11/30/17                   Rabobank, N.A.                      Bank and Technology Services Fee                       2600-000                                       417.58        289,903.57
12/28/17       103         INTERNATIONAL SURETIES, LTD         BOND PREMIUM PAYMENT ON LEDGER                         2300-000                                        54.98        289,848.59
                                                               BALANCE AS OF 12/28/2017 FOR CASE
                                                               #1-15-03759, Bond #016026361
12/29/17                   Rabobank, N.A.                      Bank and Technology Services Fee                       2600-000                                       403.08        289,445.51
01/18/18       104         Department of the Treasury          James T. Morton, III EIN XX-XXXXXXX 2016               2810-000                                  123,535.74         165,909.77
                                                               Form 1041
01/18/18       105         Department of the Treasury          Christina A. Morton EIN XX-XXXXXXX 2016                2810-000                                   15,950.33         149,959.44
                                                               Form 1041
01/18/18       106         PA Department of Revenue            James T. Morton, III EIN XX-XXXXXXX Form               2820-000                                   12,962.43         136,997.01
                                                               2016 PA41
01/18/18       107         PA Department of Revenue            Christina A. Morton EIN XX-XXXXXXX Form                2820-000                                    5,546.52         131,450.49
                                                               2016 PA41
01/18/18       108         Baker Tilly Vichow Krause LLP       accountants fees                                       3410-000                                   21,780.36         109,670.13
01/18/18       109         Mid-Atlantic Federal Credit Union   costs & expenses of preserving the estate              2990-000                                    4,667.22         105,002.91
                                                               U.S.C. section 503(b)
01/31/18                   Rabobank, N.A.                      Bank and Technology Services Fee                       2600-000                                       415.53        104,587.38
02/28/18                   Rabobank, N.A.                      Bank and Technology Services Fee                       2600-000                                       140.40        104,446.98
03/30/18                   Rabobank, N.A.                      Bank and Technology Services Fee                       2600-000                                       150.23        104,296.75
04/30/18                   Rabobank, N.A.                      Bank and Technology Services Fee                       2600-000                                       145.01        104,151.74
05/31/18                   Rabobank, N.A.                      Bank and Technology Services Fee                       2600-000                                       164.79        103,986.95
06/29/18                   Rabobank, N.A.                      Bank and Technology Services Fee                       2600-000                                       144.58        103,842.37
07/31/18                   Rabobank, N.A.                      Bank and Technology Services Fee                       2600-000                                       159.31        103,683.06
08/31/18                   Rabobank, N.A.                      Bank and Technology Services Fee                       2600-000                                       154.10        103,528.96
09/28/18                   Rabobank, N.A.                      Bank and Technology Services Fee                       2600-000                                        79.41        103,449.55
10/31/18                   Rabobank, N.A.                      Bank and Technology Services Fee                       2600-000                                        93.52        103,356.03
01/03/19       110         INTERNATIONAL SURETIES, LTD         BOND PREMIUM PAYMENT ON LEDGER                         2300-000                                        33.61        103,322.42
                                                               BALANCE AS OF 01/03/2019 FOR CASE
                                                               #1-15-03759, Bond #016026361


                                                                                                           Subtotals :                   $57,701.00         $189,380.69
{} Asset reference(s)                                                                                                                               Printed: 04/03/2019 10:33 AM        V.14.50
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                                                   Cash Receipts And Disbursements Record
Case Number:         1-15-03759                                                                      Trustee:              Steven M. Carr (580390)
Case Name:           Morton, James T., III                                                           Bank Name:            Rabobank, N.A.
                     Morton, Christina A.                                                            Account:              ******3566 - Checking Account
Taxpayer ID #:       **-***8887                                                                      Blanket Bond:         $6,379,891.00 (per case limit)
Period Ending: 04/03/19                                                                              Separate Bond: N/A

   1             2                           3                                        4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                              Receipts          Disbursements          Checking
  Date      Check #           Paid To / Received From                   Description of Transaction                T-Code              $                    $             Account Balance

                                                                                    ACCOUNT TOTALS                                   307,701.00             204,378.58       $103,322.42
                                                                                           Less: Bank Transfers                             0.00                  0.00
                                                                                    Subtotal                                         307,701.00             204,378.58
                                                                                           Less: Payments to Debtors                                         11,647.50
                                                                                    NET Receipts / Disbursements                    $307,701.00         $192,731.08

                                Net Receipts :            307,701.00
                      Plus Gross Adjustments :          1,131,762.56                                                                     Net               Net                  Account
                     Less Payments to Debtor :             11,647.50                TOTAL - ALL ACCOUNTS                               Receipts       Disbursements             Balances

                                    Net Estate :    $1,427,816.06                   Checking # ******3566                            307,701.00             192,731.08        103,322.42

                                                                                                                                    $307,701.00         $192,731.08          $103,322.42




{} Asset reference(s)                                                                                                                           Printed: 04/03/2019 10:33 AM       V.14.50
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                                             Exhibit C - Claims Register
                                          Case: 1-15-03759 Morton, James T., III
                                                                                                               Claims Bar Date:   03/18/16
 Claim   Claimant Name /                          Claim Type/    Claim Ref./          Amount Filed/                Paid            Claim
Number   <Category>, Priority                     Date Filed     Notes                    Allowed                 to Date         Balance
         Department of Treasury                   Admin Ch. 7                            $186,442.00           $123,535.74        $50,390.30
         Internal Revenue Service                 09/04/15                               $173,926.04
                                                                 Administrative Claim James Morton - 2016 Form 1044
         Cincinnati, OH 45990
         <2810-00 Income Taxes - Internal Revenue Service (post-petition)>, 200
         Steven M. Carr, Trustee                  Admin Ch. 7                              $20,000.00                $0.00        $18,657.39
                                                  09/04/15                                 $18,657.39
         <2100-00 Trustee Compensation>, 200
         Department of Treasury                   Admin Ch. 7                              $19,788.00           $15,950.33         $2,509.29
         Internal Revenue Service                 09/04/15                                 $18,459.62
                                                                 Administrative Claim Christina Morton - 2016 Form 1044
         Cincinnati, OH 4599
         <2810-00 Income Taxes - Internal Revenue Service (post-petition)>, 200
         PA Department of Revenue                 Admin Ch. 7                              $20,830.00           $12,962.43         $6,469.24
         Bureau of Imaging & Document Mgmt.       09/04/15                                 $19,431.67
         P.O. Box 280413                                         Administrative Claim James Morton - 2016 Form PA41
         Harrisburg, PA 17128-0413
         <2820-00 Other State or Local Taxes (post-petition, incl. post-petition real est. taxes)>, 200
         PA Department of Revenue                 Admin Ch. 7                               $8,913.00            $5,546.52         $2,768.14
         Bureau of Imaging & Document Mgmt.       09/04/15                                  $8,314.66
         P.O. Box 280413                                         Administrative Claim Christina Morton - 2016 Form PA 41
         Harrisburg, PA 17128-0413
         <2820-00 Other State or Local Taxes (post-petition, incl. post-petition real est. taxes)>, 200
         Baker Tilly Vichow Krause, LLP           Admin Ch. 7                              $35,000.00           $21,780.36        $10,870.07
         221 W. Philadelphia Street, Suite 200    09/04/15                                 $32,650.43
                                                                 Administrative claim - see docket #102
         York, PA 17401
         <3410-00 Accountant for Trustee Fees (Other Firm)>, 200
         Mid-Atlantic Federal Credit Union        Admin Ch. 7                               $7,500.00            $4,667.22         $2,329.30
         c/o Scott W. Foley, Esquire              09/04/15                                  $6,996.52
         250 West Pratt Street, Suite 2000                       Administrative claim (per Order dated 12/28/17 - docket #103)
         Baltimore, MD 21201-3147
         <2990-00 Other Chapter 7 Administrative Expenses>, 200
         Cunningham , Chernicoff &                Admin Ch. 7                               $5,000.00                $0.00         $4,664.35
         Warshawsky, PC                           09/04/15                                  $4,664.35
         2320 North 2nd Street                                   Administrative fee - see docket #105 & #106


         Harrisburg, PA 17110
         <3210-00 Attorney for Trustee Fees (Other Firm)>, 200




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                                              Exhibit C - Claims Register
                                            Case: 1-15-03759 Morton, James T., III
                                                                                                        Claims Bar Date:   03/18/16
 Claim   Claimant Name /                          Claim Type/   Claim Ref./          Amount Filed/         Paid             Claim
Number   <Category>, Priority                     Date Filed    Notes                    Allowed          to Date          Balance
 1       Discover Bank                            Unsecured                              $10,406.19          $0.00         $10,406.19
         Discover Products, Inc.                  09/14/15                               $10,406.19
         P.O. Box 3025                                          unsecured claim
         New Albany, OH 43054-3025
         <7100-00 General Unsecured § 726(a)(2)>, 610
 2       Sysco Baltimore, LLC                     Unsecured                              $13,502.20          $0.00         $13,502.20
         c/o John L. Friedman, Esquire            09/17/15                               $13,502.20
         1101 Saint Paul Street Suite 402                       unsecured claim
         Baltimore, MD 21202
         <7100-00 General Unsecured § 726(a)(2)>, 610
 3       Bank of America                          Unsecured                              $41,867.69          $0.00         $41,867.69
         NC-001-07-06 Attn: Robert Reardon        09/23/15                               $41,867.69
         101 North Tryon Street                                 unsecured claim
         Charlotte, NC 28255-0001
         <7100-00 General Unsecured § 726(a)(2)>, 610
 4A      PA Department of Revenue                 Priority                                $5,735.25          $0.00          $5,735.25
         Bankruptcy Division                      09/24/15                                $5,735.25
         P.O. Box 280946                                        priority claim
         Harrisburg, PA 17128-0946
         <5800-00 Claims of Governmental Units>, 570
 4B      PA Department of Revenue                 Unsecured                               $2,006.02          $0.00          $2,006.02
         Bankruptcy Division                      09/24/15                                $2,006.02
         P.O. Box 280946                                        unsecured claim
         Harrisburg, PA 17128-0946
         <7100-00 General Unsecured § 726(a)(2)>, 610
 5       The Columbia Bank                        Secured                                $88,238.33          $0.00             $0.00
         c/o David S. Musgrave, Esquire           10/02/15                                      $0.00
         233 East Redwood Street                                secured claim - $0
         Baltimore, MD 21202
         <4110-00 Real Estate--Consensual Liens (mortgages, deeds of trust, PMSI)>, 100
 6       Santander Bank, N.A.                     Unsecured                               $2,985.04          $0.00          $2,985.04
         601 Penn Street                          10/20/15                                $2,985.04
         10-6438-FB7                                            unsecured claim
         Reading, PA 19601
         <7100-00 General Unsecured § 726(a)(2)>, 610
 7       Mid-Atlantic Federal Credit Union        Secured                             $1,816,500.82          $0.00             $0.00
         c/o Joseph A. Pulver, Esquire            11/11/15                                      $0.00
         250 W. Pratte Street, 20th Floor                       $0 secured paid at settlement
         Baltimore, MD 21201
         <4110-00 Real Estate--Consensual Liens (mortgages, deeds of trust, PMSI)>, 100




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                                               Exhibit C - Claims Register
                                           Case: 1-15-03759 Morton, James T., III
                                                                                                     Claims Bar Date:   03/18/16
 Claim   Claimant Name /                         Claim Type/   Claim Ref./         Amount Filed/        Paid             Claim
Number   <Category>, Priority                    Date Filed    Notes                   Allowed         to Date          Balance
 8       Mid-Atlantic Federal Credit Union       Secured                             $1,566,320.92        $0.00             $0.00
         c/o Joseph A. Pulver, Esquire           11/11/15                                    $0.00
         250 W. Pratt Street, 20th Floor                       $0 secured claim paid at settlement
         Baltimore, MD 21201
         <4110-00 Real Estate--Consensual Liens (mortgages, deeds of trust, PMSI)>, 100
 9       Mid-Atlantic Financial Partner, LLC     Secured                               $586,569.85        $0.00             $0.00
         c/o Joseph A. Pulver, Esquire           11/11/15                                    $0.00
         250 W. Pratt Street, 20th Floor                       $0 secured claim paid at settlement
         Baltimore, MD 21201
         <4110-00 Real Estate--Consensual Liens (mortgages, deeds of trust, PMSI)>, 100
 10      Donald Macdougal                        Unsecured                               $3,000.00        $0.00          $3,000.00
         2006 Warfield Drive                     12/22/15                                $3,000.00
                                                               unsecured claim
         Lancaster, PA 17601
         <7100-00 General Unsecured § 726(a)(2)>, 610
 11      York County Tax Claim Bureau            Secured                                $20,403.36        $0.00             $0.00
         28 East Market Street                   12/28/15                                    $0.00
         Room 110                                              secured - $0 (paid at settlement)
         York, PA 17401
         <4700-00 Real Property Tax Liens (pre-petition)>, 100
 12      TD Bank                                 Unsecured                               $1,964.60        $0.00          $1,964.60
         c/o Jefferson Capital Systems LLC       12/31/15                                $1,964.60
         P.O. Box 7999                                         unsecured claim
         Saint Cloud, MN 56302
         <7100-00 General Unsecured § 726(a)(2)>, 610
 13      PYOD, LLC successors/assignee of        Unsecured                               $3,401.15        $0.00          $3,401.15
         Citibank                                01/04/16                                $3,401.15
         Resurgent Capital Services                            unsecured claim
         P.O. Box 19008
         Greenville, SC 29602
         <7100-00 General Unsecured § 726(a)(2)>, 610
 14      Capital One Bank (USA), N.A.            Unsecured                              $12,381.35        $0.00         $12,381.35
         P.O. Box 71083                          01/04/16                               $12,381.35
                                                               unsecured claim
         Charlotte, NC 28272-1083
         <7100-00 General Unsecured § 726(a)(2)>, 610
 15      Baker Tilly Virchow Krause, LLP         Unsecured                               $3,000.00        $0.00             $0.00
         235 St. Charles Way, Suite 250          01/14/16                                    $0.00
                                                               unsecured claim - $0 (withdrawn)
         York, PA 17402
         <7100-00 General Unsecured § 726(a)(2)>, 610




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                                              Exhibit C - Claims Register
                                         Case: 1-15-03759 Morton, James T., III
                                                                                                               Claims Bar Date:    03/18/16
 Claim   Claimant Name /                         Claim Type/    Claim Ref./         Amount Filed/                 Paid              Claim
Number   <Category>, Priority                    Date Filed     Notes                   Allowed                  to Date           Balance
 16      American Express Centurion Bank         Unsecured                               $29,073.66                 $0.00          $29,073.66
         c/o Becket and Lee LLP                  02/25/16                                $29,073.66
         P.O. Box 3001                                          unsecured claim
         Malvern, PA 19355-0701
         <7100-00 General Unsecured § 726(a)(2)>, 610
 17      World's Foremost Bank                   Unsecured                                 $6,205.01                $0.00           $6,205.01
         Cabela's Club Visa                      03/01/16                                  $6,205.01
         P.O. Box 82609                                         unsecured claim
         <7100-00 General Unsecured § 726(a)(2)>, 610
 18      Portfolio Recovery Associates, LLC      Unsecured                                 $2,682.56                $0.00           $2,682.56
         P.O. Box 12914                          03/18/16                                  $2,682.56
                                                                unsecured claim
         Norfolk, VA 23541
         <7100-00 General Unsecured § 726(a)(2)>, 610
 19A     Bennet Williams, Inc.                   Admin Ch. 7                               $5,000.00                $0.00           $4,664.35
         c/o Chad A. Stine, President            05/19/16                                  $4,664.35
         3528 Concord Road                                      Admin Chapter 7 claim - see docket entry #83
         York, PA 17402
         <2500-00 Costs Re Sale of Prop. (excl. realtor comm./exp., incl. closing costs, tte adv.)>, 200
 19B     Bennet Williams, Inc.                   Unsecured                               $64,000.00                 $0.00          $64,000.00
         Chad A. Stine, President                05/19/16                                $64,000.00
         3528 Concord Road                                      unsecured claim - see docket entry #83
         York, PA 17402
         <7100-00 General Unsecured § 726(a)(2)>, 610

                                                                                         Case Total:       $184,442.60            $302,533.15




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                                  TRUSTEE'S PROPOSED DISTRIBUTION                                        Exhibit D

            Case No.: 1-15-03759
            Case Name: Morton, James T., III
            Trustee Name: Steven M. Carr
                                               Balance on hand:                            $          103,322.42
             Claims of secured creditors will be paid as follows:

 Claim        Claimant                             Claim Allowed Amount Interim Payments                 Proposed
 No.                                             Asserted       of Claim          to Date                Payment
                                                     None
                                               Total to be paid to secured creditors:      $                0.00
                                               Remaining balance:                          $          103,322.42

             Applications for chapter 7 fees and administrative expenses have been filed as follows:
 Reason/Applicant                                           Total Requested Interim Payments           Proposed
                                                                                      to Date          Payment
Trustee, Fees - Steven M. Carr, Trustee                              18,657.39                 0.00      18,657.39
Attorney for Trustee, Fees - Cunningham , Chernicoff &                4,664.35                 0.00       4,664.35
Warshawsky, PC
Accountant for Trustee, Fees - Baker Tilly Vichow Krause,            32,650.43          21,780.36        10,870.07
LLP
Other Expenses: Bennet Williams, Inc.                                 4,664.35                 0.00       4,664.35
Other Expenses: Department of Treasury                              192,385.66       139,486.07          52,899.58
Other Expenses: Mid-Atlantic Federal Credit Union                     6,996.52           4,667.22         2,329.30
Other Expenses: PA Department of Revenue                             27,746.33          18,508.95         9,237.38
                           Total to be paid for chapter 7 administration expenses:         $          103,322.42
                           Remaining balance:                                              $                0.00

              Applications for prior chapter fees and administrative expenses have been filed as follows:
 Reason/Applicant                                           Total Requested Interim Payments           Proposed
                                                                                      to Date          Payment
                                                     None
                           Total to be paid for prior chapter administrative expenses:     $                0.00
                           Remaining balance:                                              $                0.00




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             In addition to the expenses of administration listed above as may be allowed by the
        Court, priority claims totaling $5,735.25 must be paid in advance of any dividend to
        general (unsecured) creditors.
              Allowed priority claims are:
Claim          Claimant                                       Allowed Amount Interim Payments            Proposed
No                                                                   of Claim          to Date           Payment
  4A           PA Department of Revenue                                5,735.25                 0.00              0.00
                                                 Total to be paid for priority claims:      $                0.00
                                                 Remaining balance:                         $                0.00
              The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).

            Timely claims of general (unsecured) creditors totaling $ 193,475.47 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments            Proposed
No                                                                   of Claim          to Date           Payment
  1            Discover Bank                                          10,406.19                 0.00              0.00
  2            Sysco Baltimore, LLC                                   13,502.20                 0.00              0.00
  3            Bank of America                                        41,867.69                 0.00              0.00
  4B           PA Department of Revenue                                2,006.02                 0.00              0.00
  6            Santander Bank, N.A.                                    2,985.04                 0.00              0.00
 10            Donald Macdougal                                        3,000.00                 0.00              0.00
 12            TD Bank                                                 1,964.60                 0.00              0.00
 13            PYOD, LLC successors/assignee of Citibank               3,401.15                 0.00              0.00
 14            Capital One Bank (USA), N.A.                           12,381.35                 0.00              0.00
 16            American Express Centurion Bank                        29,073.66                 0.00              0.00
 17            World's Foremost Bank                                   6,205.01                 0.00              0.00
 18            Portfolio Recovery Associates, LLC                      2,682.56                 0.00              0.00
 19B           Bennet Williams, Inc.                                  64,000.00                 0.00              0.00
                             Total to be paid for timely general unsecured claims:          $                0.00
                             Remaining balance:                                             $                0.00



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            Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 0.0 percent, plus interest (if applicable).

              Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments           Proposed
No                                                                   of Claim          to Date          Payment
                                                      None
                            Total to be paid for tardy general unsecured claims:          $                  0.00
                            Remaining balance:                                            $                  0.00

             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                       Allowed Amount Interim Payments           Proposed
No                                                                   of Claim          to Date          Payment
                                                       None
                                                Total to be paid for subordinated claims: $                  0.00
                                                Remaining balance:                        $                  0.00




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